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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                 Case No.: 1:19-CR-00018-ABJ


UNITED STATES OF AMERICA,



v.

ROGER J. STONE, JR.,

            Defendant.
______________________________


     DEFENDANT ROGER STONE’S NOTICE OF FILING A REDACTED COPY OF
                      DEFENDANT’S EXHIBIT LIST


       Defendant ROGER STONE, through counsel, submits this notice to the Court regarding

the filing of a redacted version of Defendant’s Exhibit List pursuant to the Court’s Order of

September 9, 2019.

                                                Respectfully submitted,

                                                By: /s/_______________


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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on September 23, 2019, I electronically filed the foregoing

with the Clerk of Court using CM/ECF. I also certify that the foregoing is being served this day

on all counsel of record or pro se parties, via transmission of Notices of Electronic Filing

generated by CM/ECF.


                                               ___/s/ Chandler Routman_______________
                                                     Chandler P. Routman

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